        Case 4:95-cr-00142 Document 5765 Filed on 03/26/07 in TXSD Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                      }
                 Plaintiff-Respondent          }
                                               }
v.                                             }      CRIMINAL ACTION NO. H-95-142-13
                                               }      CIVIL ACTION NO. H-04-300
EDUARDO MORENO,                                }
                 Defendant-Petitioner          }


                                 MEMORANDUM AND ORDER

          Pending before the Court are Petitioner Eduardo Moreno’s (“Moreno”) section 2255 motion

to vacate, set aside or correct sentence (Dkt. 5245), the Government’s answer and motion for

summary judgment (Dkt. 5295), the Magistrate Judge’s memorandum and recommendation that the

Government’s motion be granted (Dkt. 5627), and Moreno’s objections to the Magistrate Judge’s

recommendation (Dkt. 5635). The Court has reviewed these pleadings and, after careful and

independent consideration, adopts that Magistrate Judge’s memorandum and recommendation in

full.

          Petitioner raises three points of error: one, that the Magistrate Judge erred by treating

Moreno’s notice of judicial cognizance as a motion to amend; two, that the Magistrate Judge erred

in finding that those arguments raised more than a year after Moreno’s conviction became final were

time barred; and three, that the Magistrate Judge erred in recommending that Petitioner’s ineffective

assistance of counsel claims be dismissed. None of these Moreno’s arguments have merit. The

Magistrate Judge exhaustively addressed these issues in her memorandum and opinion, and the

Court has nothing further to add. Accordingly, the court ORDERS that Eduardo Moreno’s section

2255 motion to vacate, set aside or correct sentence (Dkt. 5245) is DENIED. The Government’s

motion for summary judgement (Dkt. 5295) is GRANTED. This case is DISMISSED.
Case 4:95-cr-00142 Document 5765 Filed on 03/26/07 in TXSD Page 2 of 2




  SIGNED at Houston, Texas, this 26th day of March, 2007.



                                    ______________________________________
                                             MELINDA HARMON
                                      UNITED STATES DISTRICT JUDGE




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